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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

     UNITED STATES OF AMERICA                     )
                                                  )
                               v.                 )   Criminal No.: 19-10080-NMG
                                                  )
        GAMAL ABDELAZIZ et al.,                   )   EXHIBIT A TO MOTION FOR LEAVE TO
                                                  )   FILE REPLY [DKT. 2120]
                      Defendants                  )

                  GOVERNMENT’S REPLY IN SUPPORT OF
        NOTICE AND MOTION REGARDING AUTHENTICATION [DKT. 2099]

       This motion is about authenticity, not admissibility. There is no serious dispute in this case

that the e-mails of John Wilson, Gamal Abdelaziz, and Rick Singer are what they are: their e-

mails. Nor is there any dispute that their recorded calls are their calls.

       In two-and-a-half-years of litigation, the defendants have never questioned this fact. They

have done just the opposite. Defendant Wilson has repeatedly sought to suppress e-mails seized

pursuant to a Court-authorized search of his e-mail account – the very same e-mails the government

now seeks to authenticate, from the very same account – on the basis that the search violated his

marital privilege, and that the e-mails reflected his “innermost thoughts” and provided “an

unacceptably intimate window into [his] private li[f]e and thoughts.” Dkt. 1437 at 17; see also

Dkts. 1988, 2031. Wilson even attached e-mails from that account as exhibits to his motions. See

id. His counsel submitted a declaration to this Court attesting, under penalty of perjury, that the

e-mails were from “Wilson’s e-mails server” and provided “specific and intangible insights into

[Wilson’s] mindset[].” Dkt. 1437-9 at ¶¶ 5, 13. And in filings just a few weeks ago, both

defendants again identified the e-mails seized from their accounts as “e-mails [d]efendants sent to

their respective spouses.” Dkt. 2031 at 2. The defendants have even marked their own e-mails –
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with signature blocks identifying themselves – as defense exhibits for trial. 1 And the Court has

repeatedly adjudicated motions premised on the fact that those e-mails are the defendants’ e-

mails. 2

           Likewise, the defendants have previously represented to the Court that the e-mails the

government seeks to authenticate from Singer’s e-mail account are, in fact, “Singer’s e-mails”

“obtained via search warrant,” Dkt. 1025 at 10 (emphasis in original), and they have marked as

defense exhibits dozens of those e-mails. 3 Finally, the defendants have repeatedly conceded that

the calls the government seeks to authenticate are what they are: calls obtained from consensual

and Court-authorized “wiretapping of Singer’s phone.” Dkt. 1025 at 12; see also id. at 1, 2, 8.

They have marked more than 90 of those calls on their exhibit list. 4 And they have marked as

defense exhibits multiple versions of notes extracted from Singer’s iPhone. 5

           The government’s straight-forward seven-page motion seeks a pre-trial authentication

order finding that those e-mails, calls, and the extract of Singer’s phone are what they purport to

be. This is utterly routine. Federal Rules of Evidence 901 and 902 do “not erect a particularly

high hurdle,” United States v. Ortiz, 966 F.2d 707, 716 (1st Cir. 1992), and are “relatively

undemanding,” United States v. Appolon, 715 F.3d 362, 371 (1st Cir. 2013). The authenticity

standard is merely that there is a “reasonable likelihood” that the “evidence is what it purports to

be” – with admissibility (e.g., relevance and hearsay) and weight left to be determined by the Court

and the jury, respectively, at trial. United States v. Alicea-Cardoza, 132 F.3d 1, 4 (1st Cir. 1997).

Indeed, the proponent “need not rule out all possibilities inconsistent with authenticity,” Appolon,


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  See, e.g., Exs. 1247, 7067, 7193, 7256, 7257, 7258.
2
  See, e.g., Dkts. 1649, 2101.
3
  See, e.g., Exs. 1000, 1001, 1002, 1004, 1005, 1031, 1032, 1185.
4
  See, e.g., Exs. 1405–1411, 1413–1438.
5
  See, e.g., Exs. 1441, 1442.
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715 F.3d at 371, and “the direct testimony of a custodian or a percipient witness is not a sine qua

non to the authentication of [evidence],” United States v. Holmquist, 36 F.3d 154, 167 (1st Cir.

1994). Accordingly, the Federal Rules of Evidence explicitly permit parties to offer pre-trial

certifications to authenticate e-mails, telephone calls, and extracts from digital devices. See Fed.

R. Evid. 902(11), 902(13), 902(14). And, as the government highlighted in its motion, courts in

the First Circuit and elsewhere have routinely authenticated similar records before trial pursuant

to this procedure, in order to streamline proceedings for jurors, witnesses, the Court, and the

parties. See, e.g., United States v. Burgos-Montes, 786 F.3d 92, 119 (1st Cir. 2015) (affirming use

of phone provider records accompanied by a certification under Rule 902(11), even if the exhibits

themselves were made to comply with a request from law enforcement); United States v. Gal, 606

F. App’x 868, 875 (9th Cir. 2015) (affirming the admission of “emails based on Yahoo’s affidavit”

pursuant to Fed. R. Evid. 902(11)); United States v. Hassan, 742 F.3d 104, 13 n.25 (4th Cir. 2014)

(rejecting “appellants’ contention that the Facebook and Google certification are insufficient

because they were made for litigation purposes several years after the postings occurred” as

“entirely unpersuasive”).

       The government is pursuing authentication pursuant to this well-established procedure, not

only because there is no legitimate dispute that the e-mails are the e-mails and the calls are the

calls, but also to streamline the trial and avoid calling five or more authentication witnesses, most

of whom reside outside of New England.

       Now, however, in a 14-page brief, the defendants accuse the government of “tr[ying] to

make an end run around of the Federal Rules of Evidence and Defendants’ constitutional rights”

and “mock[ing] evidentiary rules.” Dkt. 2118 at 1, 8. Hyperbole aside, the defendants’ opposition

suffers from four flaws in its logic in trying to manufacture a dispute on the eve of trial.

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       First, the defendants argue – for the first time in this case – that because “e-mail messages

can be sent by persons other than the named sender,” there is not the requisite “reasonable

likelihood” for authentication that “the persons associated with these e-mail accounts are in fact

the individuals the [g]overnment purports.” Dkt. 2118 at 6. If the defendants would like to argue

to the jury that e-mails bearing their names, with their signature blocks, copying their spouses, and

discussing their children by name with Rick Singer, are not actually their e-mails, and that some

mystery sender authored them, that is their choice. But the business records certifications of

Google and Microsoft attesting that the defendants’ and Singer’s e-mails were maintained in the

ordinary course and were accurately produced to the government in executing a search warrant,

combined with the obvious authenticating details discussed within the e-mails, are more than

sufficient to establish a “reasonable likelihood” that the e-mails are “what [they] purport to be.”

Alicea-Cardoza, 132 F.3d at 4. And of course, the defendants have themselves argued that these

are their e-mails in motion after motion. The Court is entitled to consider these sworn admissions

in determining authenticity. See, e.g., United States v. Kilpatrick, No. 10-20403, 2012 WL

3236727, at *5 (E.D. Mich. Aug. 7, 2012) (“This Court can consider the admissions made by

Defendant . . . and his attorneys in other proceedings to determine whether the government has

made a prima facie showing of authenticity.”).

       Second, in an attempt to confuse the issues, the defendants repeatedly conflate authenticity

with admissibility. In just the first two pages of their opposition, they accuse the government of

seeking the “wholesale admission” of evidence, and of asking the Court to “admit the bulk of the

[g]overnment’s evidence against [d]efendants” without laying a foundation. Dkt. 2118 at 1–2;

see also id. (“The Government’s attempt to admit . . .”; “establishing admission”). That is wrong.

The government’s motion does not seek the admission of any exhibit, and the defendants are

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attempting to obfuscate the issues to avoid the “relatively undemanding” standards for authenticity.

Appolon, 715 F.3d at 371. The e-mails of Singer and the defendants, the recorded calls of Singer

and the defendants, and the extract of Singer’s iPhone are authentic because, as the certificates

submitted by the government and the details within the evidence demonstrate, they are what they

purport to be. They will be admissible at trial for a host of other evidentiary reasons, but

admissibility is not the subject of the government’s motion. 6

       Third, the defendants incorrectly contend the government is seeking a “blanket

authentication” and disingenuously assert that it is “not entirely clear what the [g]overnment is

asking the Court to pre-authenticate.” Dkt. 2118 at 3. The defendants have been in possession of

the government’s exhibit list – which includes summaries of each exhibit – for more than two

months. The defendants know exactly which of their e-mails and calls, and which of Singer’s e-

mails and calls, the government intends to introduce at trial. Should the Court determine, for

example, that it needs to review each of defendant Wilson’s e-mails even though they were all

seized from the same e-mail account in executing the same search warrant, the government can

provide an exhibit-by-exhibit list.

       Fourth, the defendants prematurely raise the Confrontation Clause in a dispute over

authenticity. The government’s motion noted that the use of business records certifications to pre-



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          Further, the defendants resort to inapposite case law on authenticity. The one case they
discuss in detail, Shah, from the Eastern District of North Carolina and which they contend
involved the “exact issue,” was a prosecution for computer hacking where the central defense was
identity, and therefore the authenticity of the e-mails in question was the central issue in the case.
See United States v. Shah, 125 F. Supp. 3d 570, 573 (E.D.N.C. 2015). And even there, the court
cabined its ruling, noting that its “discussion should not be confused with an admonition that the
documents may never be accepted into evidence as Google’s business records,” and that “the
court’s analysis is semantic in nature and, in practice, does not operate to the detriment of the
government.” Id. at 576.

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authenticate evidence, without calling a keeper-of-records witness, does not violate the

Confrontation Clause, because the certifications themselves are not the evidence and are therefore

not testimonial. See Dkt. 2099 at 6–7 (collecting cases). The defendants do not dispute that.

Instead, they once again seek to create a dispute over admissibility, contending that admitting the

recorded calls between Singer and the defendants, without calling Singer as a witness, would

violate the Confrontation Clause. The defendants’ argument is premature because this motion

concerns authenticity: whether the calls are the calls.

       But the defendants’ argument is also incorrect as a matter of law. It ignores well-

established First Circuit precedent holding that the recorded admissions of defendants to

cooperating witnesses or undercover agents are admissible, and that the cooperator’s statements

are likewise admissible to provide context for those admissions, among other reasons. See, e.g.,

United States v. Walter, 434 F.3d 30, 35 (1st Cir. 2006) (holding that statements by non-testifying

cooperator on recording “introduced solely to place a defendant’s admissions into context are not

hearsay, and as such, do not run afoul of the Confrontation Clause”); see also United States v.

Perez-Vasquez, 6 F.4th 180, 197 (1st Cir. 2021) (explaining that statements by a non-testifying

cooperating witness on a recording to provide context for a defendant’s admissions and other co-

conspirator statements are not offered for the truth of the matter asserted, and therefore do not

violate the Confrontation Clause); United States v. Sandoval, 6 F.4th 63, 94 (1st Cir. 2021) (same);

United States v. Liriano, 761 F.3d 131, 137 (1st Cir. 2014) (same). Accordingly, for example,

Singer’s ruse that he was being audited by the IRS (i.e., which will not be offered for the truth of

the matter asserted) and his question to Abdelaziz about whether he agreed that Singer should lie

to the IRS about the fact that Abdelaziz’s daughter was admitted to USC as a fake basketball recruit

in exchange for a payment, is admissible to provide context for Abdelaziz’s admission: “Of

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course.” And, of course, the Court may consider providing a limiting instruction about the

appropriate use of such evidence when it is introduced.

       For these reasons, and the reasons set forth in its opening brief, the government has easily

satisfied its burden of proving, by a “reasonable likelihood,” that the defendants’ and Singer’s e-

mails are their e-mails, and that their calls are their calls. The government therefore respectfully

requests that the Court make a prima facie finding that the (a) intercepted wire and electronic

communications over the cellular telephone assigned the call number ending in 8802, used by Rick

Singer; (b) e-mails obtained via searches of the e-mail accounts gamalaziz797@gmail.com;

rickwsinger@gmail.com; rwsinger@gmail.com; and john@hyannisportcapital.com, and (c) a

forensic extraction of Singer’s iPhone, IMEI 353807081688088, including the extraction report

and six voicemail messages extracted from the device, are authentic, that admission of certificates

to authenticate the underlying records does not violate the Confrontation Clause, and that live

witness testimony to authenticate these records is unnecessary.

                                                     Respectfully submitted,

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                                                     Acting United States Attorney

                                                  By: /s/ Ian J. Stearns
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                                  CERTIFICATE OF SERVICE

       I hereby certify that this document, filed through the ECF system, will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing.

       Dated: August 30, 2021                          /s/ Ian J. Stearns
                                                       IAN J. STEARNS




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